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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORJDA
                    CaseNum ber:17-20307-CR-M ARTlNEZ/O TAZO-% YES

    UN ITED STA TES O F A M ERICA ,

           Plaintiff,
    VS.

    CU RTIS BR YAN T,

           Defendant.


                    ORDER ADOPTIN G REPORT AND RECOM M ENDATIO N
                     ON COUNSEL'S SIXTH INTERIM CJA V OUCH ER

          THIS CAUSE cam ebefore the Courtupon theReportand Recomm endation on Counsel's

   SixthInterim CJA VouchersubmittedpursuanttotheCrim inalJusticeActVoucher113C.0780486

   issuedbyUnitedStatesM agistrateJudgeAliciaM .Otazo-ReyesonApril11,2019EECFNo.11651.
   M agistrate Judge Otazo-Reyes,recom mends thatthis Court,approve the CJA Voucherand that

   Attorney M ichael R.Band be paid a total sum of $18,199.00. The parties were afforded the

   opportunitytofileobjectionsto theReportandRecommendations,and theCourtnotesCounsel's
   NoticeofNoObjectiontoMagistrate'sReportandRecommendationsgECFNO,11732.Accordingly,
   theCourthasconsideredtheReportand Recomm endation,thepertinentpartsoftherecord,forthe

   reasonsstated in theReportoftheM agistrate Judge,and upon independentreview ofthefile and

   being otherwisefully advised in thepremises,itis

          ORDERED AND ADltm GED thatunitedStatesM agistrateJudgeAliciaM .Otazo-Reyes's

   ReportandRecommendationsLECFNo.11651,isherebyADOPTED and AFFIRM ED.
          DONE AND ORDERED inChambersatMiami,Florida,this (je-dayofApril,2019.

                                                                  r
                                                      JO SE .M ARTINEZ
                                                      UN IT   STA TES D IST lCT JUD G E
   Copiesprovidedto:
   M agistrate Judge Otazo-lkeyes
   M ichaelBand,P.A .
   CJA A dm inistrator
